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AO 458 (Rev, 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT

for the
Northern District of New York

 

 

Olivia Haynie et al. )
Plaintiff )
Vv. ) Case No. 3:20-cv-00467-MAD-ML
Cornell University )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

Iam admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Cornell University

 

Date: 07/14/2021 /si Margaret M. Hlousek

 

Attorney's signature

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